Case 8:16-cr-00434-PX Document 203 Filed 02/1621. Pgeig 1 be

UNITED STATES DISTRICT COURT FEB 16

DISTRICT OF MARYLAND AT QReeNwéLy
@ERKUS. DISTRICT Cour

DISTRICT OF a)
NT wEPeRT pa’?

UNITED STATES OF AMERICA,
Plaintiff,
Vv. Case No.: 16-CR-00434

KEVIN CHRISTOPHER HEITING,

Defendant.

~~ we ww ws sO SS CU

DEFENDANT'S MOTION FOR COMPASSIONATE RELEASE
PURSUANT TO 18 U.S.C. § 3582(c)(1)(A)

 

Kevin Heiting, ("Heiting" or Defendant"), proceeding pro se,
respectfully motions this Court for compassionate release in
accordance with 18 U.S.C. § 3582(c)(1)(A) ahd the First Step Act,
Pub. L. No. 115-391, 132 Stat. 5194 (2018). IN support of this
motion Heiting provides the following information:

I. Backgroupfid

HeitinNg was convicted of Distributing Child Pornography ih
violation of 18 U.S.C. § 2252A(a)(2). He was sentefced on April
19, 2018 to a term of imprisofimeit of 240 moiths and a term of
Supervised release for life. He was also ordered to pay $25,500
iN restitution to various victims of his crime.

For much of his senteNce, Heitiyg has beey incarcerated at
Federal Medical Center, Lexijygton, KY. ("FMC"). He has done
well here.

He seeks a reductioN based of two sets of facts: His health

issues coupled with the COVID-19 pandemic, which certainly increases
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the risk to Heiting including the liklihood of severe trauma to
his health up to and ihcluding death if he catches the virus; apd
secondly, the fact that this country, includiig the U.S. Goverm-
ment (particularly the United States Sentencing Commission (the
"Commission")) has intimated that the sentencing rahges for sex
offehders may be too harsh.

II. Compassiopate Release Requests

Prior to the passage of the First Step Act of 2018, a court
could only cofisider a motion for compassionate release from the
Director of the BOP. Congress changed that due, iff part, to its
surprise at how little the Bureau of Prisons ("BOP") granted this
remedy.

The First Step Act, passed in December, 2018, made it lawful
for defendants to request the BOP afd then courts (givey the
compliaftwce with certain prerequisites) for a compassionate
release. § 603 of the Fisrt Step Act; afd 18 U.S.C. § 3582(c)(1)
(A).

In a section of the First Step Act titled "IpcreasiNg the

Use and Trapsparejfjcy of Compassionate Release," the law was

changed by specific lafguage:
[Courts caf modify sentences by] motion of the defeypdant
after the defehdant has fully exhausted all administrative
rights to appeal a failure of the Bureau of prisons to
bring a motion of the defendant's behalf or the lapse
of 30 days from the receipt of such a request by the
warden of the defeidait's facility.

(Id.).

A court may ywow modify a defendant's sehtence if it finds
oN either the BOP's or the defedant's motion that "€traordinary

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aNd compelling reasons warrant such a reduction" ahd "such a
reduction is consistent with applicable policy statements issued
by the Sentenhciftig Commission." 3582(c)(A)(i).

The policy statement regarding compassiohate release ("CR")
sets forth three specific reasons that are cofsidered "extra-
ordihary ahd compelling" as well as a catchall provision recognizing
as “extraordinary afd compelliNg" any other reason "[a]s determiyted
by the Director of the Bureau of Prisons." U.S.S.G. Manual §
1B1.13 cmt. n.1 (U.S. Sentencifyg Commission, 2018). It also
requires that "the defejdant is not a danger to the safety of ahy
other person or the commuiity," and that the court's determination
is in live with "the factors set forth in 18 U.S.C. § 3553(a)."

Id. at § 1B1.13(2) & cmt. n.4.!

Heiting first addresses "extraordiiary and compelling" and
its use in determiving whether compassioWate release requests are
valid if specific cases.

Very little guidance exists on what constitutes extraordinary
and compellijgg reasons warrantiNg a sehtence reduction uhder
U.S.S.G. § 1B1.13 cmt. ft.1(D). Only the BOP was orevionsig
empowered to seek such relief, afd it rarely did so. UwWited States
v. Gutierrez, No. CR 05-0217 RB, 2019 WL 1472320, at *1 (D.N.M.

Apr. 3, 2019). The statute does hot define--or place amy limits

 

1 That policy statement has mot beeh amended since the First Step

Act and some of it now clearly contradicts 18 U.S.C. § 3582(c)(1)
(A), as defeydant cah Now bring a motion to a court. And courts
note that the Commission does not have efough Commissiofiers at this
time to vote chahges.
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on--what "extraordinary and compelling reasoyws" might warrayvt

such a reductiow. Crowe v. Upited States, 430 F. App'x 484,

 

485 (6th Cir. 2011). Black's Law Dictiohary, however, defines
"extraordinary" as "beyond what is usual, customary, regular,

or common. (10th ed. 2014) And extrapolating from its
definition of "compelling heed," a compelling reason is one ae
"so great that irreparable harm or injustice would result if
[the relief] is not [granted]." Id.

Heiting submits that the world-wide and dahgerous virus
which is devastating prisons across this couptry is certainly
"beyond what is usual or common." Additionally, with the
Commission--as well as some courts--balking at the time that is
being given out to sex offenders, time which is iN mayy cases
enormous for first-time offehders, is also uncommon or uhusual.

HeitiNg must also show that he has exhausted the statutory-
required admiftiistrative remedies spoken of above.

III. Proper Exhaustion

Before this COurt cah consider Heitipgg's motioy, he must
show it that he has properly exhausted any admimistrative remedy
involved in gettiyg the BOP to file a motion of his behalf. To
do that, he must show either that the warden has properly defied
his request afd he has properly, ahd fully, exhausted all appeals
up to Geheral Counsel or Director of the BOP; or, he has waited
thirty (3) days from submitting his request to the warden and has
not been given an answer to that requests. 18 U.S.C. § 3582(c)(1)
(A); First Step Act, § 603.

Despite the relevayt statutes discussing ole (1) request to

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the warden, FMC has required inmates to ask the warden twice.
Once informally and a second time "formally." The Fisrt Step
Act does fliot require this. For whatever reasoy, the BOP has
made a simple requirement: (Ask the warden for a reductioh ih
sentence), a very complicated, bureaucratic mess that jaobody can
even explain. Heiting filed his informal request of October 23,
2020. This informal request was never answered. Heiting filed
his BP-9 for i## accordance with BOP policy 1330.18 apd 28 C.F.R.
§ 542.01 et seq.

So the BOP has changed the law to require two requests to
the warden instead of one. The First Step Act required ofe
request and gave the warden thirty days only because of the
nature of some of these requests. Namely, people dieiypg. And
while Heiting is certaiNly not about to die, Congress, as evident
by the language of the FSA, and its legislative history, gave the
BOP little room to do what it does best--mess thiyfigs up.

Heiting has made his requests to this Warden. He has
complied with the FSA afid 3582. The BOP has not responded. The
BOP just caYivlot seem to get its act together and the Courts and
Congress seem to finally have had enough of it.” Good for them.
Heiting has properly exhausted.

IV. Heiting's Two Reaso 1s
As mentioned above, HeitiNg relies om two reaso"Ys for his

request to this Court: (1) His health and the COVID-19 pandemic;

 

é The BOP has been having other issues as well including sexual

harrassment at Coleman, the Jeffery Epstein matter ahd an issue of
lies to Sen. Grassley over the BOP mefpu.

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and (2) The view in some circles that sex offender puhishment is
sometimes too harsh.

1. Heitihng's Health and COVID-19

 

HeitinNg is a 32-year old man. He has health issues which
are serious if iature. He has several mental disorders and several
physical ailments. He is obese with a weight of 238 pouids ahd a
height of 6' 02", giviig him a BMI over 30. His obesity is recewt
and alarmingly worsening with each year of incarceration. He also
suffers from hyperteNsion with a blood pressure of 144/101 recorded
OR 11/15/2019. This hyperteNsion persists despite the use of two
hypertewsion medications. These two medications, proprayvtol and
prazosin, are given for anxiety and wightmare disorder respectively.
Heitihg also has had a heart murmur (irregular heart rythme) since
a bout of scarlet fever at age 3. He has been diagnosed with
obstructive sleep aphea. The heart murmur has persisted sijrce
age 3 but has beef occurring off and on for the past few years.
He has bee diagfiosed with a vitamin B12 deficiency whale
incarcerated. He was diagnosed with allergic rhinitis (allergies
to tree/grass pollen, dogs, and dust mites). He has also tested
positive for SARS COVID-19 ih late December 2020. He admittedly
had few severe symptoms but this could be drastically differeht
a second time around. Heiting has a theory that COVID-19 virus
will rawadomly select each victim as either a carrier or select
the victim for severe life-threatening symptoms. This previous
bout with COVID-19 was lucky afid he suffered with ofly a cough,
congestion, severe body aches, exhaustion and fausia. Heitihg
also believes the disease attacked his lufNgs, leavijyg him with

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persistent shortNess of breath; attacked his heart and kidieys as
well.

Heiting also suffers from a long list of mefital disorders, of
which the court is already aware of of his major depressive
disorder avd schizotypal personality disorder. The Court is not
yet aware of the additional mental disorders he has beeh diagnosed
with since eWterifg the BOP. These include social ayxiety disorder
(social phobia), geweralized anxiety disorder, nightmare disorder,
autism spectrum disorder, attention deficit hyperactivity disorder
(ADHD) and insomnia disorder. All of these disorders are listed
ihn Exhibit B along with all other health problems. Some of these
new diagnoses, such as autism and ADHD, would have contributed to
a downward departure for diminished capacity to avoid criminal
behavior, which would have drastically lowered Heiting's sentencing
guidelines.

Additionally, the COVID-19 virus sweeping the country makes
all of these issues worse, especially the obesity, hyperteWsioh,
heart murmur, sleep aphea aiid history of bronchitis. A word or
two is in order regarding the hypertension, obesity, sleep apNea
avd browchitis that Heitiyg has and the U.S.'s stated position on
inmates with these types of health issues:

On May 18, 2020, the Department of Justice issued
ifternal guidance which directs that the Goveryjment
concede that Defendants who have certain CDC risk
factors . . . cay establish that "extraordinary ahd

compelling reasons" warrant the reductio4 in sentelice.

(See, United States v. Firebaugh, Case No. 16-20341-CR-UU (S.D.

 

Fla.) (DE 43, "Governmefht's Supplemental Response, p. 1, 6-1-20)).
(emphasis added aNd ellipsis added).

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This government respoywse includes a list of (9) medical
conditions. They include hypertension afd (9) obesity. So theh
Heiting provides evidence that he has 2 conditions (at a miftimum)
that the U.S. agrees would facially satisfy the "extraordinary
and compelling" requirement in 3582 and U.S.S.G. 1B1.13. Awd he
asks this Court to please take judicial yotice of this filing by
the U.S. if the Souther District of Florida.

Thus far, Heitiig has shown that he has properly exhausted
his administrative attempts to get a motion filed by the BOP. He
has also showh that he has many medical conditiofs which affect
him to a great extent. Conditions that if exaserbated by the
COVID-19 virus, could easily kill him. Where the government
admits that the presence of one of the CDC comorbidities satisfies
the requiremeht of "extraordiwary and compelling" conditions for
the granting of a motioh, Heitihng shows that he has at least two
(2) to five (5) of the conditions, and Maybe more!

Courts are takihg hard looks at inmates that have health
issues ahd some courts are releasing some of these inmates due to
a combination of health issues ahd the COVID-19 pandemic. See,

e.g-, United States v. Beck, 2019 U.S. Dist. LEXIS 108542 (M.D.

 

NC) (case Not involving COVID-19, but cancer); ahd Uhited States
v. Brooks, No. 07-20047, 2020 WL 2509107 at *4 (C.D. Tl1l.).

But there is still more required thah health issues. Most
courts require some showing that the virus is actually present at
the relevaht facility and that the conceryn is Not some geheralized

or speculative fear of COVID-19. Unites States v. Gorai, No. 18-

 

220, 2020 WL 1975372 at *2 (D. Nev.).

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At last count, FMC has had 9 virus deaths. There have beeh
several hundred cases at FMC so far. More are expected.

Additionally, the CeNters for Disease Control and the COVID-
19 task force headed by V.P. Pence recommend social distancihg.
That is not easily doNe in prison. Se, e.g., United States v.
Colvif, 3:19-cr-179, 2020 WL 1613943, at *4 (D. Conh.). And so,
the issues with Heiting's health are made more serious by the
effects of the virus and the eMvironment of prison.

2. The Harshness of Some Sex Offenders' Sentences

Heiting also believes, notwithstanding his plea agreement,
that he was over-sentehced. He is a first-time prison imate and
he has had a crime-free/conviction-free life of nearly (3)
decades.

The above assertion coincides with study after study that
examine the child pd$mography issues that affect this country.
"By far the largest subgroup of ihternet offenders, including
those that are convicted of making child pornography would appear
to post [sic] a very low risk of sexual recidivism.”?

Additionally, accordipg to the U.S.S.C. (Commission), the
Number of flon-goverfment sponsored below guideline sentences has
increased 45% from 2006 to 2016. Thus, it appears that courts are

recognizing that the sentehcing rages for mahy sex offehders ("SOs")

 

3 See, L. Webb, J. Craissati ahd S. Keen, Characteristics of
Internet Child Pornography Offenders: A Comparison With Child
Monsters, 19 Sexual Abuse: A Jourwal of Reffsearch and Treatment
4, 463 (2007).

 

This study has also application in future "dapgerousness" too.
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is out of whack. Many juries feel the same way: Im one case, a
defendant was found guilty after a trial for possession of child
pornography. Despite being a first-time offender ayid havifig a
relatively modest Number of images ahd video, his guidelije range
was 262-327 months. The district court judge polled each of the
12 jurors asking what they thought the appropriate sentence should
be. The responses ranged from 0 to 60 moiths with a mean of 14.5
months and a median of 8 moyths. 12 ordifary people from the
commuhity recommended but a fraction of the guideline range.

United States v. Collins, 825 F.3d 386 (6th Cir. 2016).

 

Also, the curreyt average extent of downward variances for
SO sentences is 40.1%--meaning in those cases iff which judges
vary downwardly, they impose senteNces that are oh average 40.1%
below the average guideline minimum.

Also, None other thaw the U.S. Sentencing Commission has
issued report after report discussing the Draconian hature of SO
sentences ahd that CoMgress should act to fix this. And if it
does hot, the courts should take note ahd act accordingly.>

Central to achieviNg the result of courts taking note of
the extremism of many sentences is showing courts why the guide-
lines should be rejected. Assistawt Federal Public Defender

Troy Stabenow has taken the lead ih this endeavor. See, Mark

 

: U.S. Sea~tencing Commission, Sourcebook of Federal Sentencing
Statistics (2018).

Federal Child Pornography Offehses, U.S. Sentehcing Commissioh,
December, 2012.

 

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Hanseh, A Reluctant Rebellion, ABA Journal (June 2009). Stabepow's

 

memorahdum® provided the aNalytical framework oh which courts
relied when holdittg the sex offender guidelines unsustaiyable, on
policy grounds. ’ Equally as important, the Sentencing Commission
effectively corroborated his conclusioWws in its report.”

Of course, all of this empirical information is peripheral
as it is this Court's sole perogative to grant relief related to

any over-sentencing of the defendant for his crimes.

 

6 See, Decowstructing the Myth of Careful Study: A Primer oh the
Flawed Progression of the Child Pornography Guidelines, (available
at http://www. fd.org/docs/Select-Topics---Sentencing/child-porn-
july-revision.pdf).

 

d See, e.g., Uwited States v. HendersoA, 649 F.3d 955, 962 (9th
Cir. 2011)(most amendments to the child pornography guidelines

"were Congressionally-mandated awd hot the result of empirical

study"); United States v. Grober, 624 F.3d 592 (3rd Cir. 2010);
Ufited States v. Dorvee, 616 F.3d 174 (2nd Cir. 2010).

 

 

 

° United States Sentencing Commission, The History of the Child
Pornography Guidelines (Oct. 2009)(available at http://www.uscc.
gov/Research/Research_ Projects/Sex_Offenses/20091030 History _
Child_Pornography Guidelines.pdf).

 

 

There are marly more studies that could be cited iw the effort
to paint the picture that SO sentences, especially for first-time
offenders are much too harsh. But ther is No agenda to pile
study upon study of this Court in the effort to show that the
sentence was too harsh. The point simply is to show that it is
wot just defendants who are making this attempt to unN-muddy the
sentencing water, but other courts, the Sentencing Commission,
federal public defenders, scholars, law schools, and others.
Ultimately, without actioh by Congress, there is Nowhere else to
turn but to sentencing courts for relief, awd there are few
vehicles to garfer such relief other than 28 U.S.C. § 2255 motions
and the type of motion that is presented here.

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But these are the two grounds for which this request is
made: Health of the defendant in conjunction with the COVID-19
outbreak and the thiNkinNg across this country that the guidelines
for SOs is seriously out of line with reality afd that the
scenario is not based on justice but rather on politics and the
uNpopularity (for lack of a better term) of the SOs ih our
society.

In concluding this section, it should be pointed out that the
BOP has the authority to send the defendant to any facility that
it wishes. See, 18 U.S.C. § 3621(b); and Moore v. Upited States
Att'y Gen., 473 F.2d 1375, 1376 (5th Cir. 1973). See also
18 U.S.C. § 3621(f).

RelyiNg of a set of unwritten criteria that considers both
offense of conviction and prior criminal history, BOP officials
at the Designation Center in Grand Prairie, TX., place "more
serious" sex offenders at ohne of eight SO Management Programs
(SOMPS). By security level, SOMP locations are Low: FMC Devehs
(MA.); FCI Seagoville (TX); FCI Englewood (CO); ahd FCI Elton
(OH); Medium: FCI Petersburg (VA); FCI Marianna (FL); and FCI
Marion (IL); aNd High: USP Tuscon (AZ).

The BOP did wot see fit to place the defeydawt in this case
at apy such facility. He's beeh placed at FMC Lexington, KY.
This should speak volumes about this defepdant.

V. Da\jwgeroushess and 3553(a)

In contemplating a 3582 motion, a court must consider other
factors as well. CR is appropriate onmly where the "defendaht is
Not a danger to the safety of ahy other persoW or to the community,

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as provided if} 18 U.S.C. § 3142(g). See also, U.S.S.G. 1B1.13(2).

Some of the factors to be considered are the Mature and
circumstances of the offense (e.g., was a weapom used; were
people physically harmed); the history ahd characteristics of
the defeffdajt; and whether the defendant was of parole, probation
or supervised release whey the offense(s) were committed.

If this case, the defefdavt did jot use a weapon, was jot on
parole or probation etc., did Not harm ayone physically, jor were
threats made. Regarding the defendant's history amd characteristics,
he has always worked, maintained a clean crimiffal record ayd
provided for himself. His PSI shows all this as well.

For these reasofs 3142(g) should ywot be an impediment to
the graytivig of this motion.

Likewise, the 3553(a) factors must also be comsidered. They
iViclude.(ofNce again) the Mature alfyd circumstances of the offejtise
and the defer~dant, the need for the seywteNce imposed (to reflect
the seriousness, to promote respect for the law, and to provide
just punishment), to afford adequate deterrefce to criminal
coyvduct, to protect the public from the defeyvidamt and to provide
the defendant with medical, techmical, educational or other
correctional treatment as needed.

This defefdant has already served a substantial amount of
time aNd there is simply No reasoft to doubt that the time served
already has but accomplished the goals listed in 3553(a).
Additionally, there is io evideice iW his iymate central file
that atty such goal has Mot beefy met.

Therefore, it would appear that the 3553(a) factors should

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yrot stawd in the way of the grating of this motiow if the Court
is predisposed to graNt same. But of course, this is HeitiNg
asserting his owNM self-serviig conclusions. So it would behoove
the parties here to see what others have said about Heitihg afd
his propeysity to be dangerous or to re-offe1d.

The Federal Bureau of Prisois has conducted what is called
a "PATTERN" test/score on Heitiig. Its goal is to establish with
some degree of certaity, what the chances are of an inmate
re-offending. The BOP scored Heiting as "Low" in the chances of
him re-offending. Ad courts throughout this couytry take the
BOP's position oy mahy matters as Gospel. Iw this instance,
that helps an ifymate for a chaywge.

VI. Release Plafi

Heitihg's mother owNs a home at 407 Vierlifg Dr., Silver
Spring, MD. This residence was where HeitiNg lived while ofi
pre-trial release. The home doesy't have any ufider-age persons
living there aNd jjo persons living in the home has any criminal
history.

Financial support would consist of welfare from family
including his mother. As for ifwsuraiwce and medical care, Heititng
will sigh up immediately for iywsurayjice coverage om one of the
health care exchawges. This would cover all of his medical,
dental aNd prescriptioyw coverage, thus allowing him to cowtilque
various treatments for his ailmewts without further cost to the
U.S. taxpayer.

VII. Rehabilitation
Rehabilitation efforts on the part of a defefwdanmt caimhot be

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the sole rationale for granting a reductiof if sente%rtce ujtder 3582.
But such efforts can be considered among all the factors viewed.

Pepper v. Uhited States, 562 U.S. 476 (2011).

 

Heiting has stayed out of trouble siwce his seNtencijyg apd
avoided receivifig ay incident report. He has programmed to the
fullest extent possible, iwcluding the poyj--residential drug abuse
class, mythbuster season 2, spafish history, attitude awd esteem,
CDL course awd basic cognitive skills.

Additiowally, he has participated as part of the CARE 3
mental health program, where he has received mental health
counseling and been diagnosed with the aforementioned mental
disorders. He has willingly participated iyy mental health
psychotropic medications which are listed if) Exhibit C.

In short, the defewdant is trying to rehabilitate to the
best of his abilities. As a result, it is respectfully asked
that this Court comsider these efforts by Heiting in his efforts
to get home to his family.

VIII. Conclusion

Because he suffers from health issues, as described above
and in his exhibits, ahd in coyjuMctioh with the COVID-19 pandemic,
the defepdaft asks this Court to grat him a compassionate release.
In addition to this, Heiting also asks this Court to coysider
other authorities and their views om the sentences of sex offenders
(computer pornography) throughout the country, and the wide-spread
thought that some sentences are way out of proportion with the
acts committed.

The COVID-19 vaccines which are beilhtg released will not

reach the prison system or Heiting's age range ay time soon.

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The CDC recommends that persons over the age of 65 receive the
vaccine first alo/jg with health care first responders. There are
over 53 million americans over the age of 65 alone. Additiolally,
Heiting is set to refuse the vacciywre if offered to him, due to
his belief that the vacciye contains oestregen, a chemical
castration drug. So both facts that Heiting is unwilling aid
even uvable to take the vacciwe place him iy continued dager as
the pandemic progresses.

The fact that Heiting has already comtracted the COVID-19
virus displays the risky evironmeft that he is imprisoNed in.
The fact that he has contracted the virus once meas he is oply
immuye for a short period of time (3 months) ayd could easily
contract the virus a secoyd or even third time as has been the
case with jumerous iymates at FMC Lexitygton.

Heiting submits that neither 3142(g) Nor 3553(a) would
stand in the way of the granting of this motion. And so, for
all these reasows, Heitijffg respectfully asks this Court for a

reduction in senteNtce to time served and release from prison.

Respectfully Submitted,

patea: 01 /01/202\ I~

Kevin Heiting

 

CERTIFICATE OF SERVICE
The uftdersigned hereby certifies that a copy of the fore-
going and all exhibits were duly served on the U.S. Attorhey for.
the District of Marylan, this day of February, 2021, by

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First Class U.S. Mail, with the proper postage ajjd correct address

affixed.

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Keviw Heiting

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